 

IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

 

 

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In re: : Chapter 11
WOODBRIDGE GROUP OF : Case No. 17-12560 (JKS)
COMPANIES, LLC, et al.,! :
(Jointly Administered)
Remaining Debtors.
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MICHAEL GOLDBERG, in his capacity as :
Liquidating Trustee of the :
Woodbridge Liquidation Trust,
Plaintiff,
V. : Adv. Proc. No. 19-50958 (KS)
GREGG W. BUTLER,
Defendant.
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ORDER

WHEREAS, on November 27, 2019, Michael Goldberg (“Plaintiff”), in his capacity as

 

Liquidating Trustee of the Woodbridge Liquidation Trust, filed the Adversary Complaint: (I) for
Avoidance and Recovery of Avoidable Transfers; and (II) for Sale of Unregistered Securities, for
Fraud, and for Aiding and Abetting Fraud (the “Complaint”) [Adv. D.I. 1] against Gregg W.
Butler (“Defendant”).

WHEREAS, on May 22, 2020, Defendant filed an Answer to the Complaint [Adv. D.I.

12].

 

1 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.
WHEREAS, on September 4, 2020, the Court entered a Scheduling Order setting forth
certain deadlines with respect to mediation, discovery, motion practice, and pretrial procedures
[Adv. D.I. 23].

WHEREAS, on January 5, 2021, the adversary proceeding was assigned to mediation
and a mediator was appointed [Adv. D.I. 29].

WHEREAS, on May 14, 2021, the mediator filed the Mediator’s Certificate of
Completion [Adv. D.I. 48] reporting that numerous attempts to contact the Defendant in an effort
to conduct mediation were unsuccessful and no emails were returned as undeliverable. Asa
result, no mediation was conducted on the scheduled date of May 13, 2021.

WHEREAS, on January 28, 2022, an Affidavit of Service [Adv. D.I. 55] was filed with
the Court stating that Epiq Class Action and Claims Solutions, Inc. caused a true and correct
copy of the “Final Pretrial Order,” dated January 21, 2022, to be delivered via overnight and
first-class mail to Defendant.

WHEREAS, on February 1, 2022, Plaintiff filed a Notice of Filing of [Proposed] Final
Pretrial Order with the Court [Adv. D.I. 56].

WHEREAS, the Notice of Agenda and Amended Notice of Agenda [Adv. D.I. 57, 58],
which were served on Defendant [Adv. D.I. 62, 63], contained the following status with respect
to the Pretrial Conference:

Status: Plaintiff served Defendant with the notice of the pretrial
conference and proposed final pretrial order for review. The
Defendant failed to respond to the proposed final pretrial order.
The pretrial conference will be going forward and the Plaintiff will
request pursuant to Local Rule 7016-2(b), after further notice to

the Defendant, entry of judgment for failure to appear and
cooperate in the preparation of the pretrial order.

 
 

WHEREAS, the Pretrial Conference was held on February 8, 2022, and Defendant failed
to appear at the Pretrial Conference.

WHEREAS, as discussed on the record at the Pretrial Conference, Plaintiff requests
entry of a judgment pursuant to Del. Bankr. L.R. 7016-2(b) in the event that Defendant fails to
appear for the rescheduled Pretrial Conference and has filed a proposed form of Judgment under
Certification of Counsel [Adv. D.I. 64].

Based on the foregoing, IT IS HEREBY ORDERED that:

1. The Pretrial Conference is hereby rescheduled to March 15, 2022, at 1:00 p.m.
(prevailing Eastern Time). The Pretrial Conference will be conducted by Zoom. All parties
are required to register for the Pretrial Conference no later than 4:00 p.m. on March 14, 2022,
using the following link: https://debuscourts.zoomgoyv.com/meeting/register/vJIte-
igrDMjHk5aw 1 WoM7qsas/ WSw-VuvY

2. Defendant's failure to appear at the Pretrial Conference shall result in entry ofa
Judgment, substantially in the form attached hereto as Exhibit 1.

Dated: February 23, 2022

 

ited States Bankruptcy Judge

 
